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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OKLAHOMA

  (1) DCCC and
                                                       Case No. 4:20-cv-211-JED-JFJ
  (2) OKLAHOMA DEMOCRATIC PARTY,

                     Plaintiffs,
                                                       JOINT REQUEST              FOR      STATUS
         v.                                            CONFERENCE

  (1) PAUL ZIRIAX, in his official capacity as
      the Secretary of the Oklahoma State
      Election Board;

  (2) TOM MONTGOMERY, in his official
      capacity as Chairman of the Oklahoma State
      Election Board;

  (3) DR. TIM MAULDIN, in his official
      capacity as Vice-Chairman of the Oklahoma
      State Election Board;

  (4) HEATHER MAHIEU CLINE, in her
      official capacity as a member of the
      Oklahoma State Election Board;
  (5) JERRY BUCHANAN, in his official
      capacity as an alternate member of the
      Oklahoma State Election Board; and

  (6) DEBI THOMPSON, in her official capacity
      as an alternate member of the Oklahoma
      State Election Board,

                     Defendants.



         The parties are scheduled for a hearing on Plaintiffs’ request for preliminary and permanent

  injunctive relief on August 26, 2020 at 10:00 a.m. The parties would appreciate an opportunity to

  discuss the logistics of the upcoming hearing with the Court in a status teleconference, including

  whether live testimony is expected, the length and structure of the hearing, and other matters. The

  parties therefore jointly request a status conference with the Court at the Court’s convenience.
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